 jCase 2:09-cr-00355-KJD-LRL         Document 114     Filed 09/01/10      Page 1 of 1              I
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6                            UN ITED STA TES DIS                                 - DEpuw           I
7                                    DISTRIC T O F N EVA DA
8 UNITED STATESOFAM ERICA,                        )
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9                       Plaintif'
                                f,                )                                                .
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10:      v.                                       )            2:09-CR-355-KJD (LRL)
  i                                               )
11 ALICIA TALLEY,                                 )                                                I
                                                  )                                                p
12                      D efendant.
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13!        FINA L O R D ER O F FO RFEITU RE A S TO D EFEN DA N T A LIC IA TAL LEY                  1
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14          On M ay l9,2010,this Courtentered a Prelim inary O rderof. Forfeiture pursuantto Fed.R. g
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     i                                                                                             1
15' Crim .P.32.2 (b)(1)and(2)and Title 18sUnited StatesCode,Section 98l(a)(l)(C)and Titlt28, :
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l6'
  . United StatesCode,Section 246l(c);Title 18,United StatesCode,Section 982(a)(1)t-
                                                                                   orfeiting
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17 property ofdefendantALICIA TALLEY totheUnited StatesofAm erica;
l8,         IT IS HEREBY ORDERED,ADJUDGED,AND DECREED pursuantto Fed.R.Crim .P                     l
19:E 32.2(
         b)(4)(A)and(B)thattheforfeitureofthepropertynamedinthePreliminaryOrderofl7orfeiture i     I
20 isfinalas to defendantA LICIA TALLEY .
     ii                       qy          a
21p/        DATEDthis ! dayof %<                           -,2010.                                 f
22                                                    '
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                                              U NITED STA TES DISTRICT JUD G E                     i
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